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August 22, 2022                                                 Donald K. Stern
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Honorable Mark Mastroianni
United States Courthouse
300 State Street, Suite 120
Springfield, Massachusetts 01105

Re: Sniadach et al. v. Walsh et al., 20-CV-30115-MGM

Dear Judge Mastroianni,

I have been appointed as the Claims Administrator in the above captioned case, pursuant to
Paragraph 4 of the Court’s Order of June 6, 2022, preliminarily approving the Class Settlement
Agreement (Exhibit A to the Joint Motion of All Parties, ECF No. 47).

I am writing pursuant to Paragraph 6.6 of the proposed Class Settlement Agreement to confirm
that I have not received notice from any Settlement Class Members indicating that they have
decided to opt out of the Class Settlement.

Respectfully submitted,



Donald K. Stern
Claims Administrator for the Proposed Settlement
